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United States District Court
District of Massachusetts

GENWORTH LIFE AND ANNUITY INSURANCE
COMPANY,

Plaintiff,

Civil Action No.
Vv. 24-10851-NMG
MANOJ KAMAL et al.,

Defendants.

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MEMORANDUM & ORDER
GORTON, J.

In this previously settled lawsuit regarding life
insurance, nTech Connect, Inc. (“nTech”) moves to intervene
under Fed. R. Civ. P. 24{a). In response, plaintiff Genworth
Life and Annuity Insurance Company (“Genworth”) moves to reopen
the case because its ability to consummate the agreed upon
settlement has been frustrated by the prospective intervention.
For the reasons that follow, the motion to intervene will be
denied and the motion to reopen will, accordingly, be denied as
moot.

Under Rule 24, parties may seek intervention either by
right or by permission. nTech seeks to intervene as a matter of
right. To succeed on a motion to intervene as of right, the

would-be intervenor must demonstrate that 1) the motion is
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timely, 2) the would-be intervenor has an interest in the
pending action, 3) it will be unable to protect its interest
without intervention, and 4) its interest is not already

adequately represented by a party to the case. See R & G Mortg.

Corp. v. Fed. Home Loan Mortg. Corp., 584 F.3d 1, 7 (list Cir.

2009) (citing Fed. R. Civ. P. 24(a)). An inability to satisfy
all four of these conditions “dooms intervention” from the

start. Id. (citing Pub. Serv. Co. of N.H. v. Patch, 136 F.3d

197, 204 (1st Cir. 1998)).

Whether a motion to intervene is timely is an “inherently
fact-sensitive” inquiry that “depends on the totality of the
circumstances.” Id. The determination of timeliness thus falls
within the district court’s sound discretion. Id. at 4. The
First Circuit has articulated that timeliness must, however, be
considered “in light of the posture of the case at the time the
motion [to intervene] is made,” considering factors such as

(i) the length of time that the . .. intervenor knew that

his interests were at risk before he moved to intervene;

(ii) the prejudice to existing parties should intervention

be allowed; (iii) the prejudice to the . . . intervenor

should intervention be denied; and (iv) any special

circumstances militating for or against intervention.

Id. (citing Geiger v. Foley Hoag LLP Ret. Plan, 521 F.3d 60, 65

(lst Cir. 2008)). “The most important factor is the length of
time that the putative intervenor knew or reasonably should have

known that his interest was imperiled before he designed to seek
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intervention.” Candelario-Del-Moral v. UBS Fin. Servs., Inc. of

P.R., 746 F.3d 30, 35 (lst Cir. 2014); cf. Maxum Indem. Co. v.

Thermax, Inc., No. CV 19-10583-NMG, 2020 WL 9743896, at *15 (D.

Mass. Jan. 7, 2020) (considering also time between filing of
complaint and motion to intervene). If, however, a case’s
posture is such that it has already been settled and will need
thus to be reopened, the First Circuit requires intervention to
be “regarded with particular skepticism.” Id. (citing Banco

Popular v. Greenblatt, 964 F.2d 1227, 1231(1st Cir. 1992)).

Here, the timeliness of the motion, based on the time nTech
knew or reasonably should have known of its interest, favors
nTech. Even assuming (as Genworth argues) that nTech first
learned of its potential interest in this case on July 10, 2024,
the time between that date and nTech’s motion only amounts to
roughly one month, a timespan which has not been found to be

unduly short. Cf. In re Intuniv Antitrust Litig., No. 1:16-CV-

12653-ADB, 2023 WL 2662173, at *14 (D. Mass. Mar. 15, 2023)
(permitting intervention despite party’s seven-month delay).
Despite this short timespan, the Court finds that Genworth
would be seriously prejudiced by nTech’s intervention and thus
consideration of prejudice strongly favor Genworth. To permit
nTech to intervene in this case after all of the parties have
reached a settlement and this Court has approved it would be the

pinnacle of prejudice to Genworth. Compare Students for Fair

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Admissions, Inc. v. President of Harvard Coll., 308 F.R.D. 39,

46 (D. Mass. 2015) (where because the case was in “very early
stages of discovery” the existing parties were not prejudiced);

Travelers Indem. Co. v. Bastianelli, 250 F.R.D. 82, 85 (D. Mass.

2008) (highlighting fact that case had not moved beyond phase of
initial dispositive motions to find lack of prejudice to

existing parties), with Suntrust Bank v. Lodge Constr., Inc.,

No. 13-80156-CIV, 2013 WL 12085083, at *2 (S.D. Fla. Dec. 5,
2013) (finding that, where invention would disrupt prior
settlement agreement, “the harm that intervention would work to
the .. . parties is obvious”).

In addition, permitting nTech to intervene in this case
after it has been closed would be contrary to the goal of
preventing “disruptive, late-stage intervention.” Id. at 9.
This after-the-fact claim by nTech to assets already awarded to
plaintiff and attempted nullification of a previously assented
to settlement in a case now closed provides the Court ample

reason to be skeptical. See UMB Bank, N.A. v. City of Cent.

Falls, No. CV 19-182WES, 2022 WL 17485809, at *4 (D.R.I. Dec. 7,
2022) (declining intervention where existing parties already

reached settlement (citing R & G Mortg. Corp., 584 F.3d at 7));

see also Seneca Res. Corp. v. Twp. of Highland, 863 F.3d 245,

253 n.8 (3d Cir. 2017) (“[A] party is entitled to settle its

lawsuit without inviting intervenors.”); cf. In re Lease Oil

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Antitrust Litig., 570 F.3d 244, 249-50 (Sth Cir. 2009)

(permitting intervention despite previous settlement agreement
because it would not reopen case or impact prior settlement).

nTech relies on the fact that this Court granted the
parties 45 days to reopen and that the settlement has not yet
been consummated but neither the First Circuit nor other courts
have found it necessary for a settlement to have been

consummated to decline intervention. Cf. R & G Mortg. Corp.,

584 F.3d at 10 (noting intervention is “rarely” allowed once

parties reach settlement agreement); accord Sierra Club v. U.S.

Env’t Prot. Agency, No. CV 3:24-0130, 2024 WL 3625682, at *14

(S.D.W. Va. Aug. 1, 2024) (recognizing that it is “rare” for
courts to permit intervention after case has already reached

settlement proceedings) {citing Sierra Club v. U.S. Env’t Prot.

Agency, 358 F.3d 516, 518 (7th Cir. 2004)).

nTech also asserts that it would be prejudiced if not
permitted to intervene based upon its claims against Rakesh
Kamal, the widower of deceased defendant Teena Kamal, but such
assertions do not outweigh the potential prejudice to Genworth.
nTech admits that it is “unclear” whether Kamal’s estate has
sufficient assets to satisfy its judgment and that the insurance
proceeds at issue in this case “could be” a significant asset to
which nTech “may” be entitled. Without a more affirmative

showing of actual prejudice, its claim is unavailing. See R&G
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Mortg. Corp., 584 F.3d at 10 (holding putative intervenor would

not be prejudiced by denial of intervention because there was
possibility it had “adequate remedy” by other means).
ORDER

For the foregoing reasons, nTech’s motion to intervene
(Docket No. 18) is DENIED. Genworth’s motion to reopen (Docket
No. 28), which was contingent upon its concerns that nTech’s
intervention would disrupt consummating the prior settlement, is
DENIED.

The existing parties to this matter are to consummate their
agreed-upon settlement pursuant to the Settlement Order of
Dismissal (Docket No. 5 entered on August 5, 2024). This matter
is hereby closed.

So ordered.

V then. LN Gabe.

Nathaniel M. Gdérton
United States District Judge

Dated: October 29 , 2024
